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                            4'
                             .n(c: /--7-7i?
Am erica has never been so vulnerable,and w e did it to ourselves.

      AM ICUS153-SEPTEMBER29TH,2021- lam experiencing,firsthand,the''PERM ANENTJ'redudion in
           medicalservicesbecause ofthe COVID19debacle (mandatorvvacrines-)and retirements.

     THEREISNO RECOVERY.(Theyare noteventalkingaboutthis.The militaryand law enforcementareno
      Iongerdesirableprofessions.Recruitmenthasbecomeimpossible.COVlD19Vaccinesareanimpact.)
        ANYTYPE OF FLU SEASON OR COVID19 M UTATION W ILLEXACERBATETHE PRO BLEM INTO AN
                                    APOCALYPTIC SCENARIO.

     fReaddinq:JudqeCarlJohnNichols(Dominion,Giuliani,Lindell,Powell& CanitolRioters.)JudceAmvB.
     Jackson(M uellercases:Manafod,Stone,etc.)Judce EmmetG.Sullivan(Flvnn & Stevens),andJudRe
     lohnG.Koel tl(DNCv.Trumnandthe Russians.l.l

      Doctors,nurses,andancillarypersonnelareleavingthem edicalprofession.Janitors,m aintenance
     personnel.housekeepers,etc.are alsoleaving.W ell-foundedmistrustandfeararedrivingthetrain.The
     fIuseason andCOVlD19m utationcouldstartatrue panicthatw illreverberatethroughoutoursociety,
     Deathsw illskyrocket.W edid i
                                 ttoourselves.

     Mywifeworksforthe I
                       argest''assistedIi
                                        ving'
                                            'corporationinthe U.S,,andtheycannotdo moveins
     becausethey areshortstaffed.Twojobfairshavebeen held and nooneshowed up.Herfacilityi
                                                                                        sonly
     halffull.Thecorporation,whichreportsquarterlyresults,îsIosingasubstantialamountofmoneywi
                                                                                            th
     nosignofrecovew .W hen doyouthinktheyw illclosethefacilityanddisplacethe residents?

        >' Thefiringofcri
                        ticalpersonnelthroughouttheU.S.hasstarted.W eare going intoaW arwith no
            soldiersandnochanceofrecruitingordraftingnew soldiers.(Theirreversibleseedsareplanted.
            ThemedicalprofessionisnoI
                                    ongerdesirableasareIaw enforcementandthemili     taw.)
     Icannotevenmakeappointmentsto seeDoctors.Officesareclosedandbeingclosed.Officehoursare
     greatly reduced,andmanyhavegonetothree-andfour-dayworkweeks.Ihaveprivate health care and
     theirdirectoriesformedicalservicesarecompletel
                                                  youtofdate.lwentforan MRlIastweekattheIocal
     hospitalanditwasaghosttow n.Servicesare notbeing providedbecauseofalackofpersonnel.Inane
     COVID19protocolsarealso causing problems.Ineededto seesixspecialistsbythe end oftheyearand
     thatisnotgoingto happen.

     To:Jane Sullivan Roberts,Patricia M ccabe,Jeffrey P.M inear,M arshalGailA.Curley,Clerk ScottHarris,
     JusticeAmyC.Barrett.-Judge Ellen Lipton Hollander,ClerkFeliciaCannon,ChiefJudgeW illiam Pryorj?.,
     ClerkDavidJ.Smith,ChiefJudge Lee H.Rosenthal,ChiefJudgePriscillaR.Owen,ClerkW leCayce,Judge
     LynnN.Hughes,ClerkNathan Ochsner,M arshalT.O'Connor,ViceAdm iralJohnChristenson,Irving L
     Azoff,SeniorludaeClaudeM .Hilton.Judae Liam O'Gradv,JudaeAnthonvJohnTrenga,ludge Carl
     John Nichols,JudRe AmvB.zackson,zudae EmmetG.Sullivan,andJudaeJohn G.Koelfl.

     Godspeed-Sincerely,DavidAndrew Christenson
     Box9063-M iram arBeach,Florida32550                                                   Sou-    Dlstx tofTexas
     504-715-3086-davidandrewchristenson/ Rm ail.com .-dchristenson6@ hotm ail.com .              F IL E D

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                                                                                         Nathc Ochsner,Clerkofœ ud
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Am erica has neverbeen so vulnerable,and w e did itto ourselves.

     (Originall
              ycreatedonFebruary15th,20 .)
              k!

     God,lstherenotoneJusticeJohn arshallHarlanintheFederalJudiciarv?Mankindneedsjustone.
     ChiefJudge BerylA.How ell         JudgeTanyaS,Chutkan              Judge Royce C.Lam berth
     Judge EmmetG.Sullivan             Judge Randolph D.Moss            Judge PaulL.Friedman
     JudgeColleenKollar-Kotelly        ludgeAm itP.M ehta               Judge EllenS.Huvelle
     JudgeJamesE.Bôasberg              JudgeTimothyJ,Kelly              Judge Reggie B.W alton
     JudgeAmyBermanJackson             JudgeTrevorN.McFadden            JudgeJohn D.Bates
     Judge Rudolph Contreras           Judge DabneyL.Friedrich          JudgeRichardJ.Leon
     JudgeKetanjiBrownJackson          JudgeCarlJ.Nichols               JudgeRosem aryM .Collyer
     Judge ChristopherR.Cooper         Judge Thom as F.Hogan            clerkAngela Caesar

     Youhave destroyed Mankind byabrogatingyourConsti
                                                    tutionalObligations,thusinjectingyourselves
     andtheJudiciaryintothepoliticaldram athathasengulfedthiscountry.Trum pw illdirectthespotlight
     totheJudiciaryand paintyouastheenemyandto be honesthewillbecorrect.The Fl    ynnandStone
     casesareonlythebeginning.History haswrittenthattheJudiciary hasbeensubservienttothe
     EyecutiveBranch.(Somehow,IhavetogetyourattentionsoIwillbecrude.Youarenow Trump's
     Bitches.)Arrogance,stupidi
                              ty,cowardice,etc.willbetheadjecti
                                                              vesthatTrumpwilluseindescribingyou
     andto behonesthewillbecorrect.W hywon'tyouIistentome?Trump,Roberts,Pelosi,M ccarthy,
     Mcconnell,Schumer,theotherDemigods,etc.willensurethatthetruthcomesout.Americanswillwant
     to know w hytheJudiciarydidnotprotectthem .

     You arecommi  ttingsuicideandyouwon'tacceptmylifeline.Goahead and killyourselvesbutIam
     begging you notto killus.Stop protectingtheSupreme Court.Stop protectingJohn Roberls.John
     Robelsisthe perfectM anchurian Candidateandyou know it.

                                   CHANGETHE NARRATIVE
     W hy hastheSuprem eCour 'tneveroverturned Plessvv.Ferguson?On M ay18,1896,theSuprem e Court
     issueda7-1decision againstPlessy.W oul
                                          d there have beenaW ariftheSupreme Courthad ruled
     difserentl
              yintheDredScotlcase?

     Everyoneknowsthatthestatutein questionhaditsorigininthepurpose,notsom uch toexcludewhite
     peoplefrom railroadcarsoccupiedbyblacks,astoexcludecoloredpeoplefrom coachesoccupîedbyor
     assignedtowhitepersons.J..J Fhethingtoaccomplîshwas,undertheguiseofgivîngequal
     accommodationforwhl  'tesandblacks,tocompeltheIattertokeeptothemselveswhiletravelingin
     railroadpassengercoaches.No one would besowanting in candorastoassertthecontrary.Plessy,163
     U.
      S-at557(Harlan,J.,dissenting).
     Godspeed-Sincerel y,
     DavidAndrew Christenson
     Box 9063 -M iramarBeach,Florida 32550
     504-715-3086-davidandrewchristenson@amail.com;-dchristenson6@ hotmailacom;
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          Case 4:21-cv-01774 Document 37 Filed on 10/04/21 in TXSD Page 3 of
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David A ndrew Ch'rijtensön                                                w                         D   e'
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P.O .Box 9063 '                              U* ed- esœ urtspg .s E Fp u
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M iram arBeach,FI.32550
                                              02T 2# 2221

                                          Nate ochsnc Cl
                                                       erkofCou:


                                         Clerk Nathan O chsner
                                         U.S.Courthouse
                                         515 Rusk St.
                                         Houston,Texas 77002
